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                                                           EXHIBIT E



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                       :
DIANIRA CORREA                                         :
     Plaintiffs,                                       :
                                                       :
v.                                                     :      Civil Action No.: 4:25-CV-2848
                                                       :
SUNRUN INC.                                            :
    Defendant.                                         :
                                                       :

                          DECLARATION OF TYLER ANDERSON

1.      I am over the age of eighteen (18) years old and believe in the obligations of an oath.

2.     I am employed by Sunrun Inc. (“Sunrun”) and hold the position of Director of Customer
Solutions.

4.     Sunrun Inc.’s headquarters is located at 600 California St., Suite 1800, San Francisco, CA
94108.

5.      Sunrun Inc. is incorporated in Delaware.

6.    As Director of Customer Solutions at Sunrun, I have personal knowledge of that certain
Sunrun BrightSave Agreement executed between Cynthia Yeldell and Sunrun.

7.     A true and accurate copy of the Sunrun BrightSave Agreement executed between Cynthia
Yeldell and Sunrun, kept by Sunrun in its ordinary course of business, is attached hereto as Exhibit
1.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct.

Executed on the __ day of June, 2025.



                                                                 ___________________________
                                                                    Tyler Anderson, Declarant




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                                                                    EXHIBIT 1

              Sunrun BrightSave™ Agreement
                                            Cynthia TerryYeldell
                                 2703 Edgewick Elm St, Fresno, TX, 77545



                    Take Control of Your Electric Bill

  $0                 25 Years                              $200                           $0.145
Deposit due        Agreement Term Length               Monthly Bill for Year            Year 1 Cost per kWh
  Today             (2.9% annual increase         One (plus taxes, if applicable;        (excluding upfront
                        in monthly bill)           includes $7.50 discount for            payment, if any)
                                                      Auto-Pay enrollment)


WE’VE GOT YOU COVERED WITH OUR WORRY-FREE SERVICE




We provide hassle-free       We monitor the system        We warrant, insure,           Selling your home?
design, permitting, and        to ensure it runs          maintain and repair         We guarantee the buyer
     installation.                 properly.               the system. We              will qualify to assume
                                                          also provide a 10-              your agreement.
                                                          year roof warranty.




                                                     A SOLAR SYSTEM DESIGN
                                                     FOR YOUR HOME
                                                     You get a 14.70 kW DC Solar System

                                                     With 42 Solar Panels and 1 Inverter(s)
                                                     Which will produce an est. 16,579 kWh in its first year
                                                     And offset approx.93% of your current, estimated
                                                     electricity usage
                                                                              YOUR SALES REPRESENTATIVE:
                                                                                                    Trey Bernadou
                                                                                        trey.bernadou@vivint.com
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                 Sunrun Installation Services Inc.
                       Sunrun BrightSave™ Power Purchase Agreement


This Power Purchase Agreement (the "Agreement") is entered into by and between Cynthia TerryYeldell
(“Customer” or “homeowner” or “you”) and Sunrun Installation Services Inc., a Delaware corporation,
together with its successors and Assignees (“Sunrun” or “we” together with Customer, the “Parties”, each a
“Party”), as of the Effective Date for the sale and purchase of all electric energy generated by a solar
photovoltaic system (the “Solar System”) to be installed on or at your home located at 2703 Edgewick Elm St
Fresno, TX 77545 (the “Home”). Sunrun is pleased to provide you with solar electric power for a twenty-five
(25) year term.
You are entitled to a completely filled out copy of this Agreement signed by both you and Sunrun before any
Work begins. This Agreement is effective as of\od\______ (the “Effective Date”). The Effective Date listed in
the preceding sentence is the date on which the last Party signed this Agreement. Please read the entire
Agreement and ask any questions you may have.

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A.   Documents to be Incorporated into the Agreement.…………………………………...                               Page 2
     lists Exhibits (including certain notices) incorporated into your Agreement.
B.   Payment Terms, Rebates, & Credits...…………………………………………………….                                      Page 2
     includes your payment terms, your payment schedule, any rebates and credits that you
     or Sunrun may receive, and our late payment policy.
C.   Our Warranties…...……………………………………………………………………………..                                              Page 4
     explains our equipment, workmanship, roof penetration, and damages warranties.
D.   Performance Guarantee ……………………………………………………………………...                                            Page 5
     explains estimated performance of the Solar System.
E.   Design and Installation..……………………………………………………………………….                                          Page 7
     includes a description of the design & installation process & the timeline for installation.
F.   Change Orders..………………………………………………………………………………..                                                Page 9
     explains the process for modifying the Solar System design.
G.   Additional Information..……………………………………………….……………………….                                          Page 9
     includes important information about the term of your Agreement, actions not included
     in design and installation, dispute resolution, and Sunrun’s insurance coverage.
H.   Notices of Right to Cancel..………………………………………………………..………….                                       Page 18
     explains the Parties’ rights to cancel the Agreement.

A. Documents to be Incorporated Into the Agreement
Exhibit A: Monthly Payment Schedule and Prepayment Pricing
Exhibit B: Legal Notices
Exhibit C: Notice of Cancellation
Exhibit D: Payment Forms
Exhibit E: Data Usage and Disclosure
Exhibit F: System Specifications

B. Payment Terms, Rebates, and Credits
1. Payment Terms
Deposit (due at signing)                 $0 (the “Deposit”)
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Initial Payment (due at Installation
Start Date)                               $0 (the “Initial Payment”)
Monthly Payments in Year One              $200.33 per month (plus taxes, if applicable); reflects
                                          $7.50 discount for electing Auto-Pay)
                                          (the “Monthly Payments”)
Annual Percentage Increase (the           2.9%
“Annual Increase”)
Cost per kWh, Year One                    $0.145 , excluding Upfront Payment (if any)
2. Upfront Payment
The sum of the Deposit and Initial Payment is called the “Upfront Payment.” The Initial Payment and Monthly
Payment amounts may change if the final Solar System design differs from the preliminary Solar System
design (as further discussed in Section E and F below).

a. You agree to pay Sunrun the Deposit, Initial Payment and Monthly Payments in the amounts and on the
   dates set forth above and in Exhibit A.
b. The Deposit and Initial Payment are payable to Sunrun Inc. by credit card, money order or a check
   drawn on a United States bank account.
3. Monthly Invoicing and Billing Cycle
a. Billing Cycle and Due Dates. Your billing cycles run on a monthly basis. Your first billing cycle will begin
   on the date the Solar System is placed in service by your Utility (the “In-Service Date”). Subsequent
   billing cycles will begin on the same date each month (the “Billing Cycle Day”).
     Each month, Sunrun will prepare a written or electronic invoice specifying the payment due from you to
     Sunrun for the preceding billing cycle. You will receive this invoice within ten (10) days following the
     conclusion of the preceding billing cycle and your payment for the preceding billing cycle will be due the
     day before the next Billing Cycle Day.

        For example, if the Solar System is placed into service on May 12th, you will receive your first bill
     __
        between June 12th and June 22nd. Your payment will be due by July 11th.
     __

     Sunrun reserves the right to update its billing systems from time to time and will notify you if your
     payment due date changes accordingly. You may also elect to make payments to Sunrun before the
     Monthly Payment due date.
b. Payment Options. Monthly Payments are payable to Sunrun Inc. (i) by automatic withdrawal from your
   checking or savings account or (ii) by check drawn on a United States bank account or (iii) by money
   order.
c. A Returned Check Fee of Twenty-Five Dollars ($25.00) (or such lower amount as required by law) will be
   assessed to you for any check or withdrawal right that is returned or refused by your bank.
4. Auto-Pay Discount
a. Monthly Payments shown in Section B(1) and Exhibit A assume payment by Automated Clearing House
   (ACH) withdrawal from your checking or savings account (“Auto-Pay”) and include a $7.50 Auto-Pay
   discount.
b. If you do not elect Auto-Pay, you will not receive an Auto-Pay Discount and, as a result, your Monthly
   Payments will be                            than those reflected in Section B(1) and Exhibit A.
5. Payment of Taxes
a. The payments specified in Section B(1) above do not include taxes. If any taxes (including, but not
   limited to, sales and transaction taxes and including any associated interest and penalties) are assessed
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    on these payments, the sale of electric energy, the Home, or the transaction itself, and are paid by
    Sunrun rather than you, you agree to pay or reimburse Sunrun for all such taxes, except to the extent
    that you are prohibited from doing so by applicable laws.
b. In addition, you agree to reimburse Sunrun for any taxes, including any associated interests and
   penalties, assessed on the Solar System that Sunrun may incur.
c. To the extent that Sunrun seeks reimbursement from you, you agree that Sunrun may seek a full
   reimbursement from you for the total amount incurred by Sunrun, impose a surcharge on your monthly
   invoice to recover the total amount incurred by Sunrun over a period to be determined by Sunrun, or, at
   its sole discretion, set up a separate payment plan with you to recover the total amount incurred by
   Sunrun.
6. Changes to Payment Amounts
a. If a change pursuant to Section F increases the Upfront Payment after you have already paid it to
   Sunrun, you agree to immediately pay Sunrun the increase in the Upfront Payment. Sunrun may
   suspend installation until this payment is received.
b. You may request a pricing plan change; however, such request must be submitted to Sunrun’s Customer
   Care Department 225 Bush Street, Suite 1400, San Francisco, CA 94104, customercare@sunrun.com,
   855-478-6786, before the earlier of (i) the date falling twenty-one (21) days after the date you signed the
   Agreement and (ii) the commencement of installation of the Solar System.
7. Prepayment of Monthly Payments
a. At any time, you may prepay all of the expected Monthly Payments you will owe Sunrun during the
   remaining portion of the Initial Term (“Prepayment”). Sunrun’s obligations under this Agreement will not
   change if you make such a prepayment.
b. The Prepayment shall equal the remaining Monthly Payments for the current and remaining years of the
   Initial Term discounted by the lesser of (x) the prime rate plus 100 basis points (as published by the Wall
   Street Journal) and (y) 5.0% (the “Prepayment”).
         For example, if you decide to pre-pay the rest of your monthly payments in year 10, and the
         applicable discount rate at the date of prepayment is 4.25%, you would pay Sunrun $43,355.
    __

    __

8. Late Payment. If Sunrun does not receive your payment by the due date listed on the invoice, Sunrun
   may charge you an administrative late fee equal to the lesser of (i) one and a half (1.5%) percent per
   month on the portion of your balance that is more than thirty (30) days past due, and (ii) the maximum
   amount permitted under and subject to applicable law. This late fee is not an interest charge, finance
   charge, time price differential or other such charge or payment of a similar nature.Interconnection.
a. The point where the Solar System connects to the Home's connection to your Utility is called
   “Interconnection.” For the purposes of calculating performance guarantee payments, if any, under
   Section D, you agree that title to and risk of loss for the electric energy provided under this Agreement
   shall pass from Sunrun to you when the electric energy reaches Interconnection. You further agree that
   electrical energy provided under this Agreement is measured at the time when electrical energy reaches
   Interconnection.
b. You agree to execute all documentation associated with interconnection, and any refund, credit, or
   rebate program, promptly at the request of Sunrun, its representatives or affiliates, and/or the Utility. If
   you do not return such documentation within seven calendar days following any such request, Sunrun
   may terminate this Agreement or, with respect refund, credit, or rebate program documentation, invoice
   you for an amount equal to the amount of rebates it otherwise would have received had you returned
   such documentation.
10. Supplemental Energy; Rebates & Credits
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a. All electric energy produced by the Solar System will be available to you for use at the Home pursuant to
   this Agreement. If, at any time, you need more electric energy than is being produced by the Solar
   System ("Supplemental Energy"), you will be responsible for purchasing that Supplemental Energy from
   another supplier, such as your Utility, and for paying any fees associated with such Supplemental Energy
   that the other supplier may charge.
b. You agree that Sunrun alone will receive any credit, rebate, environmental attribute, solar renewable
   energy credit, or other payment or offset (“Incentives”) that may be attributable to the Solar System. All
   Incentives will be the sole property of and transferable by Sunrun.
c. Notwithstanding anything to the contrary contained herein and without limiting the other rights, if any, of
   Sunrun with respect to Incentives attributable to the Solar System, you agree that Sunrun will receive any
   federal tax credits that may be attributable to the Solar System, and that such federal tax credits will be
   the sole property of and transferable by Sunrun. Sunrun’s expected federal tax credits associated with
   the Solar System have been factored into the calculation of your Monthly Payment.
d. If you purchase the Solar System from Sunrun, you will own and be entitled to proceeds from the sales of
   solar renewable energy credits earned after the date you purchase the Solar System from Sunrun.

C. Our Warranties
1. Warranties
                                                                            WE INSURE AND
a. Workmanship Warranty. We warrant our Work and the Solar
   System for a period of twenty-five (25) years after installation         MAINTAIN THE
   (the “Warranty Period”), except as provided below with respect
   to our roof penetration warranty. During the Warranty Period
   we will, at our expense, repair or replace any material or Work          SYSTEM FOR
   covered under this Agreement. Our “Workmanship Warranty”
   includes but is not limited to the following:
                                                                            25 YEARS AFTER
                                                                            INSTALLATION.



    (i) Roof Penetration Warranty. We warrant that roof penetrations made by the Solar System and
        impacting the Home’s roof will be weather-tight for a period of 10 years after installation.
    (ii) Damage Warranty. We will either repair or reimburse you for damage we cause during installation to
         the Home, your belongings or your property, as limited by Sections C(2), E and G.
    (iii) Sunrun will maintain and repair the Solar System for the Initial Term and any Renewal Terms.
b. Equipment Warranty. Sunrun warrants all equipment for the duration of the Initial Term. If parts fail during
   the Initial Term, Sunrun will use commercially reasonable efforts to replace them with like equipment;
   however, you acknowledge that due to parts availability and other factors, this may not be possible.
   Sunrun agrees that any change in equipment will not reduce the Guaranteed Output set forth in Section
   D.
c. End of Term Warranty. At the end of the Initial Term or at the end of a Renewal Term, should either you
   or Sunrun wish to end the Agreement, Sunrun will remove the Solar System at no cost to you and return
   the Home to a condition similar to its condition prior to installation of the Solar System, excepting
   ordinary wear and tear (including, but not limited to, wear and tear resulting from local weather
   conditions) and wear and tear that can be expected due to the presence of the Solar System on the
   Home for the 25-year term (including, but not limited to, uneven wear and tear and uneven discoloration).
2. Warranty Exceptions and Exclusions


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a. The Roof Penetration Warranty shall be void and voidable if work is performed by you or your contractors
   on the roof during the 10 year warranty period.
b. The Roof Penetration Warranty does not cover any (i) leaks that occur in areas of the Home’s roof not
   impacted by the Solar System or the associated roof penetrations, (ii) pre-existing and/or underlying
   failures of the Home’s roof or (iii) foreign objects acting on the Home’s roof (e.g. hail, golf balls, etc.).
c. The Workmanship Warranty does not apply to the following:
    (i) Work performed or materials used by anyone other than us or our Installation Partners;
    (ii) Any materials that were modified, repaired or attempted to be repaired by anyone other than
           Sunrun or its Installation Partners without Sunrun’s prior written approval;
    (iii) Any damages resulting from your breach of the Agreement;
    (iv) Any damage not caused by us, our Installation Partners or a Solar System defect;
    (v) Damage resulting from ordinary wear and tear;
    (vi) Damage resulting from mold, fungus and other organic pathogens;
    (vii) Shrinking/cracking of grout and caulking;
    (viii) Fading of paints and finishes exposed to sunlight; and
    (ix) Damage caused by ball strikes

    You acknowledge that installation of the Solar System may void any roofing warranty of the roof
    manufacturer or roof installer. We assume no responsibility if our Work voids your roofing warranty.
    Before installation, you should check with the roofer or builder concerning any impact the Solar System
    will have on a roof warranty.
    Your initials indicate that you have read, understood and accepted the provisions set forth in this section
    C(2).
    Agreed and accepted by: \i1\_______ (Initials)
3. Contacting Sunrun to Fix the Solar System. Sunrun will monitor the Solar System to proactively address
   any problems that may arise. Nevertheless, if you think there is an issue with the Solar System that is
   covered by any of the warranties specified above, please contact Sunrun at 855-478-6786 or by email at
   customercare@sunrun.com. Sunrun will use commercially reasonable efforts to fix any issue covered by
   a warranty as soon as possible after it becomes aware of such issue.

D. Performance Guarantee
1. Production Estimate
a. Sunrun estimates that the Solar System will be capable of generating 16,579 kilowatt-hours of electric
   energy during its first year of operation. Actual production may vary due to natural variation in weather
   patterns, the physical specifications of the Home’s roof(s), the required placement of the Solar System
   on your roof, and other conditions. Your Monthly Payment is not tied to the actual output of the Solar
   System.
b. Due to expected panel degradation, Sunrun estimates that the Solar System will be capable of
   generating 390,534 kilowatt-hours ("kWh") during the Initial Term (the “Estimated Output”).
2. Guaranteed Output. Subject to the conditions set forth in this Section D, Sunrun guarantees that the
   Solar System will generate 90% of the Estimated Output during the Initial Term of this Agreement as set
   forth in Exhibit A (the "Guaranteed Output"). Subject to the conditions set forth in this Section D, Sunrun
   will issue you a refund if the Solar System does not generate the Guaranteed Output.
    Sunrun will not issue you a refund for any Solar System underproduction resulting from any system
    failure or lost production caused by reasons other than (a) a Solar System defect, (b) shading due to the
    weather or (c) shading conditions that were present at the Home at the commencement of installation.

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    For the avoidance of doubt, Sunrun will not issue you a refund for underproduction arising from any of
    the following:
              Underproduction arising from your failure to comply with your obligations under the Agreement.
              Underproduction arising from shading conditions (other than weather) different from those that
               were present at the Home at the commencement of installation.
              Underproduction as a result of a grid failure disabling the Solar System.
              Underproduction arising from you causing or requesting the Solar System to be shut down or to
               generate significantly less electric energy.
              Underproduction arising from damage to the Solar System caused by foreign objects acting on
               the Solar System (e.g. hail, golf balls, etc.)
    Sunrun makes no other representation, warranty or guarantee of any kind regarding the Solar System’s
    actual or expected output or performance and any other express or implied warranties are hereby
    disclaimed.
    Your initials indicate that you have read, understood and accepted the provisions set forth in this Section
    D(2).
    Agreed and accepted by:
3. Overproduction. If, over the course of the Initial Term, the Solar System produces more energy than the
   predicted Guaranteed Output, then the extra energy will be yours at no additional cost. Sunrun may use
   this overproduction amount to offset future underproduction in a given period should the Actual Output
   attributable to such period be less than the Guaranteed Output attributable to such period.
4. Actual Output and Refunds. On the 24 month anniversary of the In-Service Date and on every 24 month
   anniversary thereafter (each, a “Guarantee Date”), Sunrun will calculate the "Actual Output" of the Solar
   System. For the purposes of this Agreement, "Actual Output" shall mean the amount of electric energy
   generated by the Solar System to date plus any kWh for which you have previously received a refund.
   Subject to Section D(2), if the Actual Output is less than the Guaranteed Output for that Guarantee Date
   set forth on Exhibit A, Sunrun will issue you a refund. This refund will be calculated by subtracting the
   Actual Output for that Guarantee Date from the Guaranteed Output for that Guarantee Date, and
   multiplying the result by the refund per kWh amount as set forth for that Guarantee Date on Exhibit A.
   For the last year of the Initial Term (year 25), the guarantee period will be 12 months.

         For example, if in year 10 the system was expected to have generated 62,000kWh cumulatively and
         actual generation was 61,500, and your refund rate is $0.13, we will credit your account based on
         the 500kWh the system fell short multiplied by your refund rate, i.e. 500kWh x $0.13 = $65.
    __

    __

E. Design and Installation
1. Our Work; Description of Materials.
a. Our work on the Solar System includes:
    (i)   design, permitting and supply of the equipment and material typically necessary for a complete and
          operable Solar System;
    (ii) installation of the Solar System;
    (iii) acquisition of approval from your Utility; and
    (iv) assistance with any applicable rebate program paperwork set forth in Section B(10) (collectively, the
          “Work”).

b. The primary equipment used for the Solar System will typically include a series of interconnected
   photovoltaic panels, one or more inverters, racking materials, and a production meter. Other materials
   generally used as the “balance of system” are disconnects, breakers, load centers, wires, and conduit.
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2. Solar System Production and Energy Consumption Monitoring; Data.
a. Installation and Maintenance of Metering and Monitoring Equipment.

    (i) Production Monitor. During installation or at any time thereafter during the Term, we may install or
        replace production monitoring devices to measure the energy produced by the Solar System (the
        “Production Monitor”). Through the Production Monitor, we will collect Solar System production and
        performance data (“Performance Data”).

    (ii) Energy Consumption Monitor. During installation or at any time thereafter during the Term, we may
         install or replace energy consumption monitoring devices (the “Consumption Monitor”). Through the
         Consumption Monitor, we may collect and store information about energy usage at the Home
         (“Usage Data”).

    (iii) Access to Monitors. You acknowledge and agree that the Production Monitor and the Consumption
          Monitor will be part of the Solar System, and that you must provide Sunrun with reasonable access to
          the Home in order to install, operate, maintain, repair and replace the Production Monitor and the
          Consumption Monitor

    (iv) Internet Connection. In order to ensure the proper functioning of the Production Monitor and the
         Consumption Monitor, if possible, you must provide the Solar System with continuous access to a
         functioning broadband internet connection with one (1) wired Ethernet port and standard electrical
         outlet, at your cost. If you are unable to provide the Solar System with an internet connection in
         accordance with the foregoing sentence, the Home must be located in an area with cellular service
         that is acceptable to us in our discretion.

    (v) Monitor Damage or Inaccuracy. Sunrun uses the Production Monitor to monitor and record your
        electricity production, and promptly respond to any production issues. To the extent the Production
        Monitor has any inaccuracies during any given period as a result of your actions or the actions of any
        other person unrelated to Sunrun (including, without limitation, any failure to maintain internet
        connection or cellular service as provided in clause (iv) above), Sunrun will deem that the Solar
        System has produced 100% of Estimated Output during such period for purposes of the Production
        Guarantee set forth in Section D. You will be responsible for any damage to the Production Monitor
        or Consumption Monitor that is caused by you or any other person unrelated to Sunrun. If the
        Production Monitor breaks or malfunctions other than as a result of your actions or the actions of any
        other person unrelated to Sunrun, Sunrun will, in good faith, estimate the amount of electric energy
        actually produced during the malfunction in order to determine whether you are owed a payment
        under the Production Guarantee set forth in Section D.

b. Data Usage and Disclosure. We may combine the Usage Data and Performance Data with each other
   and with other data, including, without limitation, personally identifiable information (collectively, “Data ”).
   Our possible uses and disclosure of the Data are described in Exhibit E. We will never sell any
   personally identifiable Data to a third party without your prior written consent.
c. Communications Equipment. During installation or at any time thereafter during the Term, we may install
   or replace communication equipment (for example, an antenna) (the “Communication Equipment”) at the
   Home. The Communication Equipment may or may not be used in connection with the Solar System. We
   may use the Communication Equipment to improve the quality of cellular and/or internet connectivity in
   your area. We may also sell the right to use the Communications Equipment in the manner described
   above to a third party. You understand that consenting to the foregoing is not a condition of purchase or
   a condition to the entry of this Agreement.

    Do you consent to the installation and use of the Communication Equipment as set forth above?
    \eqctxt1\
3. Design

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a. Sunrun or its Installation Partners will provide you with a preliminary Solar System design then will
   schedule a time to visit your Home to confirm that the preliminary design will fit on your Home’s roof and
   finalize the design (the “Site Survey”). The design of the Solar System is dependent on the physical
   specifications of the Home’s roof(s), site conditions such as placement of ventilation systems, roof
   conditions, etc., any of which may affect the placement of the Solar System on your roof. The Home’s
   Solar System design will be finalized following a Site Survey of the Home by Sunrun.
b. The final design of the Solar System will be presented to you prior to installation. You will have five (5)
   business days after receipt of the design to request a design change. Otherwise, you will be deemed to
   have approved the Solar System design. Sunrun will use commercially reasonable efforts to
   accommodate requests for changes. With your written, deemed, or verbal approval, installation may
   begin.
c. If, during or after the Site Survey, we discover any concealed or hidden conditions or issues with the
   Home that may delay or prevent completion of the Solar System once we start installation, we will
   explain the issue to you, determine if additional costs are required to correct the problem and, if so,
   propose a change order. It may be necessary that you undertake site preparation prior to installation.
4. Installation
a. Installation will be performed by Sunrun's licensed, bonded affiliate, Sunrun Installation Services Inc., or
   by another licensed, bonded contractor (an “Installation Partner”) that meets Sunrun's quality standards.
   Sunrun requires its Installation Partners to employ licensed personnel as required by applicable state
   law, regulations or codes, and to carry insurance as set forth in Section G(6) below.
b. Sunrun or its Installation Partners will obtain any permits needed for installation of the Solar System. You
   agree to cooperate with Sunrun and assist Sunrun in obtaining any permits needed, including any
   interconnection agreement or other documentation required to interconnect the Solar System with your
   Utility.
c. If Sunrun or its Installation Partner damages the Home during installation, we will repair the damage we
   caused at no cost to you.
d. Sunrun, its Installation Partners and agents shall keep the Home reasonably free from waste materials or
   rubbish caused by their operations. Prior to the In-Service Date, Sunrun and its agents shall remove all
   tools, construction/installation equipment, machinery, waste materials and rubbish from and around the
   Home.
e. Sunrun reserves the right, at Sunrun’s sole discretion, to install a critter guard with the Solar System.
   Guards can help protect the Solar System from pests or rodents that can damage components of the
   Solar System.
5. Access to the Home
a. You agree to grant Sunrun and its Installation Partners reasonable access to the Home for the purpose
   of, as applicable, designing, installing, operating and testing the Solar System and performing Sunrun’s
   obligations under this Agreement. Sunrun agrees to give you reasonable notice when Sunrun needs to
   access the Home for any of the foregoing purposes and will endeavor to restrict such access to normal
   business hours.
b. When requested by Sunrun or when necessary, you agree to allow Sunrun and construction
   professionals (an engineer, architect, or licensed contractor or their representative) hired by Sunrun to
   access the Home to inspect any buildings, including roofs, prior to installation of the Solar System to
   ensure that the Home can accommodate the Solar System.
c. You must provide us with power and water for use during installation.
d. You agree to make reasonable efforts to provide a safe and secure work environment for Sunrun and its
   Installation Partners at the Home throughout Solar System installation, the Initial Term and any Renewal
   Terms

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6. Miscellaneous.
a.   Sunrun has the authority and sole discretion to use Installation Partners or agents to perform or assist
     Sunrun in performing Sunrun's obligations.
b. If Work excluded from this Agreement in Section E(7) must be performed in order to properly effect the
   installation of the Solar System, you agree to contract separately, and at your own expense, with a
   contractor who has been designated by or approved by Sunrun to perform such obligation. In this
   instance, Sunrun will not unreasonably withhold such approval.
c. If you plan to move or temporarily disconnect the Solar System to allow for maintenance of and/or repair
   to the Home, you agree, at your expense, either (i) to hire Sunrun to perform this work or (ii) to obtain
   Sunrun's approval of your contractor, who you agree must carry commercial general liability policy in an
   amount not less than one million ($1,000,000) dollars per occurrence and name “Sunrun Installation
   Services Inc. and its successor or assigns”, as additional insureds.
d. You agree that you will not make any modifications, improvements, revisions or additions to the Solar
   System or take any other actions that could damage or void any applicable warranty set forth in Section
   C without Sunrun’s prior written consent. If you make any modifications, improvements, revisions or
   additions to the Solar System, they will become part of the Solar System and shall be Sunrun’s sole
   property.
e. If applicable programs exist in your utility service area, you agree to allow Sunrun, from time to time, to
   remotely administer and operate the Solar System in connection with demand response or other
   programs to optimize your electricity costs or to maintain the reliability of the electrical grid.
7. Exclusions. We do not do or provide any of the following under this Agreement:
a. removal or disposal of any material containing asbestos or any other hazardous material;
b. movement of your personal items around the Home;
c. upgrades to the electrical panel or electrical service or additional costs associated with moving the
   current electrical meter;
d. installation or repair of fences;
e. repair of any pre-existing roofing damage resulting from a substandard roof or pre-existing substandard
   roof installation work;
f. structural framing work for any part of the roof or structure, including concealed substandard framing;
g. correction of mistakes of another contractor or subcontractor (for example, if the Home was not built to
   code);
h. removal and replacement of existing rot or insect infestation;
i. testing or remediation of mold, fungus, mildew or organic pathogens;
j. painting of conduit or other structural parts;
k. upgrades for Utility access requirements such as special locks or 24-hour access gates;
l. Homeowners Association (“HOA”) review, permitting or fees, however we will support your efforts to
   coordinate with your HOA;
m. professional engineering services;
n. correction of structural integrity problems (for roof mounted systems) or evaluation and correction of
   ground stability under or near the Solar System (for ground mounted systems);
o. removal of trees;
p. any studies or permitting beyond the basic building permit; or
q. monitoring services associated with any monitoring equipment that is provided directly by a manufacturer
   and subject to the manufacturer’s terms and conditions

F. Change Orders
If Sunrun requests a modification to the terms of the Agreement, Sunrun will notify you in writing of the
requested change and will ask you to accept the modified terms by executing a change order. Failure to

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respond to a change order request within five (5) business days may lead to a cancellation of the Agreement
pursuant to Section H.

    For example, if upon completing the Site Survey it is determined that the contracted system size will
    not fit, and we have to reduce the system size by a panel or two we would create a change order
    which reflects a lower monthly payment due to less production.
_

G. Additional Information
1. Agreement Term
a. Initial Term. The Initial Term of the Agreement begins on the In-Service Date and continues in effect for
   twenty-five (25) years following the In-Service Date, unless canceled or terminated earlier in accordance
   with the terms of this Agreement. Within a reasonable period of time following its occurrence, Sunrun will
   notify you of the In-Service Date.
b. Renewal Term. Subject to clause (ii) below, at the end of the Initial Term, the Agreement will be
   automatically renewed for an additional one-year term (“Renewal Term,” collectively with the Initial Term,
   “Term”). Sunrun will provide you with your new rate for electric energy at the beginning of the Renewal
   Term and each successive Renewal Term, if any. The new price per kWh shall be equal to ten percent
   (10%) less than the “average cost of electric energy” as established by your Utility or its successor.
   “Average cost of electric energy” shall be the price you would otherwise pay for electric energy to your
   Utility, or its successor for the 12 months preceding the start of each Renewal Term. Unless otherwise
   terminated under the terms of this agreement, the Agreement will continue to automatically renew for
   additional one-year terms at the end of each Renewal Term.
         (i)   Sunrun will make a good faith effort to notify you between thirty (30) and sixty (60) days before the
               end of the Initial Term of (i) your end of term options and (ii) the estimated rate for electric energy in
               the first Renewal Term (if applicable).
         (ii) The Agreement will not automatically renew if either Party gives the other Party written notice of
              termination (x) at least thirty (30) days prior to the expiration of the Initial Term or the applicable
              Renewal Term, or (y) within fifteen (15) days after Sunrun provides you with the written estimated
              rate for electric energy in the upcoming Renewal Term, whichever is later.
2. Termination
         At the end of the Initial Term or at the end of a Renewal Term, should either you or Sunrun end the
         Agreement, Sunrun will remove the Solar System at no cost to you. Written notice of termination must
         be provided in accordance with Section G.1(b).

         Subject to the exclusions set forth in Sections C and E, Sunrun will return the Home to a condition similar
         to its condition prior to installation of the Solar System. You must notify Sunrun in writing of any
         deficiencies in restoration within five (5) business days of removal or a municipal building inspector’s
         approval of the work associated with the removal of the Solar System.
3. Customer Obligations. You acknowledge and agree to the following:
a. Your local utility is Centerpoint Energy (the “Utility”). You agree that the Home will remain connected to
   your Utility for the Initial Term and any Renewal Terms and that you will notify Sunrun prior to changing
   your Utility.
b. That you will purchase all electric energy generated by the Solar System at the payment prices set forth
   on Exhibit A.
c. The Solar System is removable equipment owned by Sunrun or its affiliates and is not considered a
   fixture or otherwise part of the Home.


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      (i) The Solar System will not be subject to any lien, security interest, claim, mortgage or deed of trust
          that may be imposed on or assessed against your interest in the Home, or any other property
          belonging to you. Neither Sunrun nor our Installation Partners will apply a lien to your title to the
          Home.
      (ii) However, you agree that Sunrun or a Sunrun affiliate may file any UCC-1 financing statement or
           other filing that confirms ownership of the Solar System.
   (iii) The foregoing notwithstanding, any contractor, subcontractor or materialman who provides goods or
         services pursuant to this Agreement and who is not paid may have a valid legal claim against the
         Home known as a mechanic’s lien. Sunrun shall satisfy and cause the removal of any such lien within
         30 days following the date Sunrun receives notice of the recording of such lien.
d. The Solar System will be used primarily for household purposes and will not be used to heat a swimming
   pool.
e. You may not sell, give away, transfer, pledge, remove, relocate, alter, tamper with or damage the Solar
   System or associated meters and/or monitors at any time. Any attempts to tamper with, damage or
   modify the Solar System will be considered beyond reasonable wear and tear use of the Solar System.
   You further acknowledge that removal of the Solar System from the Home during the Term for any
   reason may require Sunrun to refund, at your cost, Incentives provided in respect of the Solar System.
f.    You agree: to keep trees, bushes and hedges trimmed so that the Solar System retains shading and
      conditions present at the time of installation to not modify the Home in a way that shades the Solar
      System; to not permit or allow to exist any condition or circumstance that would cause the Solar System
      not to operate as intended at the Home; and to promptly notify Sunrun if you think the Solar System is
      damaged or appears unsafe or if the Solar System is stolen.
g. You will refrain from attempting to clean, fix, or modify the Solar System, unless expressly permitted to
   do so by Sunrun. If any condition exists with respect to the Solar System which you think may be
   affecting performance or if you believe the Solar System has accumulated snow, is excessively soiled, is
   damaged or otherwise appears unsafe, please notify Sunrun at 225 Bush Street, Suite 1400, San
   Francisco, CA 94104, customercare@sunrun.com, 855-478-6786. We may remedy the condition if it is
   deemed necessary by Sunrun to do so, put you in contact with certified partners who can remedy the
   condition, or provide you with instructions on how to remedy such situation (e.g. use a hose to spray the
   panels from ground level).
h. You agree that Sunrun may (i) call you and (ii) send pre-recorded and text messages to you at the phone
   number you provided regarding the installation, maintenance, and administration of your Solar System
   using automated telephone technology even if your phone number is listed on any national or state “Do
   Not Call” list. Message and data rates may apply.
      Your initials indicate that you have read, understood and accepted the provisions set forth in this Section
      G(3)(h).

      Agreed and accepted by: \i1\_______ (Initials)
      You further agree that Sunrun may (i) call and (ii) send pre-recorded or text messages, to the phone
      number you provided about other Sunrun products and services, using an autodialer, even if your phone
      number is listed on any national or state “Do Not Call” list. Message and data rates may apply. You
      further understand that consenting to the foregoing is not a condition of purchase or entry into this
      Agreement. You will have the opportunity to opt out of any marketing messages.
      Do you consent? \cctxt1\
4. Purchase of Solar System
a. Option to Purchase. You have the option to purchase the Solar System at the following times during the
   Initial Term:

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      (i) Upon the fifth (5th) anniversary of the In-Service Date;
      (ii) At the end of the Initial Term;
      (iii) If you sell the Home during the Initial Term; and
      (iv) Under the circumstances described in Section G(10)(b).
b. Notice of Intent to Purchase. To purchase the Solar System pursuant to this Section, you must deliver a
   written notice to Sunrun of your intent to purchase within sixty (60) days of the applicable date and
   deliver payment to Sunrun within thirty (30) days of receiving an invoice from Sunrun for the purchase
   price.
c. Purchase Price. The purchase price will be the fair market value ("FMV") of the Solar System at the time
   of the purchase. Sunrun will determine the FMV of the Solar System by hiring an independent appraiser
   to estimate the value of a comparable in-service photovoltaic solar system in your state and Utility
   service area. This valuation will take into account the Solar System’s age, location, size and other market
   characteristics such as equipment type, service costs, the value of electricity in your area, and any
   applicable Incentives. In addition, if the Solar System is purchased prior to the fifth (5th) anniversary of
   the In-Service Date, the FMV will include the recapture of any federal tax credits.
      Termination of Agreement upon Purchase; Right to Monitor. After you purchase the Solar System, this
      Agreement will terminate and neither you nor Sunrun will have any remaining obligations under this
      Agreement. For the avoidance of doubt, after termination, Sunrun will not provide you with any
      maintenance or repair services, unless you enter into a separate agreement with Sunrun for Sunrun or its
      Installation Partner to perform these services at your expense. If possible, Sunrun will assign to you any
      equipment warranties still in effect for the Solar System. Sunrun reserves the right to continue to
      measure the performance of the Solar System after termination of the Agreement.

5. Sale of Home, Assignment and Foreclosure; Refinancing
a. Sale of Home. If you sell the Home you:
      (i) May transfer all rights and obligations under this Agreement to the new owner, provided that the new
          owner (a) meets Sunrun’s credit requirements of a FICO score of 650 or higher and (b) agrees in
          writing to be bound by all of the terms and conditions set forth herein; or
      (ii) May transfer all rights and obligations under this Agreement to the new owner, provided that the new
           owner (a) (i) qualifies for a mortgage to purchase the Home or (ii) purchases the Home in cash, (b)
           either you or the new owner pays Sunrun a $250.00 credit check exemption fee and (c) the new
           owner agrees in writing to be bound by all of the terms and conditions set forth herein; or
      (iii) Will be deemed to have terminated this Agreement and Sunrun may exercise its rights under Section
            G(10) if:
         1. You sell or otherwise transfer your interest in the Home without either purchasing the Solar
            System or assigning this Agreement to the new owner in accordance with the terms of this
            Section, or
         2. The new owner refuses to assume the Agreement.
b. Assignment of Agreement.
      (i) Sunrun may, without your consent, assign, lease, sublease, or transfer the Solar System and this
          Agreement, along with all rights and obligations hereunder, to any third party (each, an "Assignee"),
          for any purpose, including without limitation, collection of unpaid amounts, financing of the Solar
          System's installation, or in the event of an acquisition, corporate reorganization, merger or sale of
          substantially all of Sunrun’s assets to another entity, provided however all obligations of Sunrun,
          including without limitation warranty obligations, shall remain the obligation of Sunrun or the
          Assignee.

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     (ii) If Sunrun assigns the Agreement, Sunrun will continue to operate and maintain the Solar System until
          you receive written notice otherwise. Sunrun requests a minimum of fifteen (15) days’ prior written
          notice if you wish to transfer this Agreement pursuant to Section G(5)(a)(i) or (ii).
     (iii) All assignments shall be made in writing. Inquiries and notices regarding assignment shall be
           directed to you at the Home and shall be directed to Sunrun at the address set forth in Section G(12).
c. Foreclosures.
     (i) If foreclosure proceedings are filed involving the Home, you shall be in default of the Agreement
         pursuant to Section G(10) and the Agreement shall terminate without notice to you and Sunrun may
         exercise any of its remedies, including but not limited to removal of the Solar System.
     (ii) Fannie Mae and Federal Housing Finance Agency Guidance for foreclosures. The Federal Housing
          Finance Agency (FHFA) is the conservator of and responsible for ensuring that the lending agencies
          Fannie Mae and Freddie Mac serve as a reliable source of liquidity and funding for housing finance.
        1. For all property financed by a Fannie Mae loan, FHFA guidelines require, and you and Sunrun (as
           applicable) agree:
            (i) That the Home will remain connected to your Utility for the Initial Term and any Renewal
                Terms.
            (ii) That in the event the Home is foreclosed upon, the lender shall have the discretion to:
                1. Terminate the Agreement and require Sunrun to remove the Solar System;
                2. Assume your obligations under the Agreement without payment of any transfer or similar
                   fee; or
                3. Terminate the Agreement and enter in to a new agreement with Sunrun under terms no
                   less favorable than the original Agreement.
        2. Sunrun agrees not to be named loss payee (or named insured) on your insurance policy/ies
           covering the Home.
        3. Review the Fannie Mae Selling Guide effective November 3, 2015, Section B2-3-04, available at
           www.fanniemae.com, for more information.
d. Refinancing. If you refinance your Home, Sunrun will provide reasonable cooperation in connection with
   the refinancing at no cost to you, including removing and refiling any UCC financing notice or completing
   any document that your lender may reasonably request be completed regarding the existing obligations
   under this Agreement.
        Your initials indicate that you have read, understood and accepted the provisions set forth in this
        Section G(5).
        Agreed and accepted by: \i1\_______ (Initials)
6. Insurance
a. Sunrun is responsible for insuring the Solar System against all damage and loss. Sunrun currently
   carries, and shall maintain the following insurance during the term of this Agreement :
     (i) Insurance covering damage to and theft of the Solar System;
     (ii) Commercial general liability insurance (“CGL”) and workers’ compensation insurance underwritten by
          Arthur J. Gallagher & Co. Insurance Brokers of California, Inc. (“Gallagher”).
     (iii) Worker’s compensation insurance for all employees.
b. Upon damage or destruction of the Solar System, you will not be entitled to receive or retain any
   insurance proceeds. Sunrun will insure the Solar System against all damage or loss unless such damage
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     or loss is due to your gross negligence or willful damage of the Solar System. In cases where we bear
     the risk of loss, our sole obligation to you will be to repair or replace the Solar System to the extent
     required by any equipment warranty.

c. During the Initial Term of this Agreement you agree to carry insurance covering damage to the Home,
   including damage resulting from the Solar System and not due to the gross negligence of Sunrun. It is
   your responsibility to determine whether installation of the Solar System will impact your existing
   coverage and if additional insurance is required.
d. Sunrun requires its Installation Partners to maintain the following insurance coverages:
     (i) Workers compensation, subject to statutory limits;
     (ii) Employers liability, with a minimum of one million ($1,000,000) dollars each occurrence;
     (iii) Commercial general liability, in an amount not less than one million ($1,000,000) dollars per
           occurrence and two million ($2,000,000) dollars annual aggregate;
     (iv) Commercial automobile liability, in an amount not less than a combined bodily injury and property
          damage limit of one million ($1,000,000) dollars per accident;
     (v) Excess liability insurance with a limit of one million ($1,000,000) dollars per occurrence and in the
         annual aggregate in excess of the limits of insurance provided above; and
     (vi) Any other insurance required by applicable laws or regulation.
        Your initials indicate that you have read, understood and accepted the provisions set forth in this
        Section G(6)
        Agreed and accepted by: \i1\_______ (Initials)
7. Limitations of Liability
     SUNRUN MAY BE LIABLE TO YOU AND ANY OTHER PERSON FOR DAMAGES OR LOSSES
     DIRECTLY ATTRIBUTABLE TO ITS NEGLIGENCE OR WILLFUL MISCONDUCT. TOTAL LIABILITY
     FOR SUCH DIRECT DAMAGES OR LOSSES WILL IN NO EVENT EXCEED ONE MILLION US
     DOLLARS ($1,000,000.00). THIS WILL BE THE SOLE AND EXCLUSIVE REMEDY AND ALL OTHER
     REMEDIES OR DAMAGES AT LAW OR EQUITY ARE WAIVED, EVEN IF YOU HAVE GREATER
     RIGHTS UNDER THE LAWS OF THE STATE IN WHICH YOUR HOME IS LOCATED, WHICH YOU
     SHOULD CONSULT. SUNRUN IS NOT RESPONSIBLE FOR ANY CONSEQUENTIAL, INCIDENTAL,
     PUNITIVE, EXEMPLARY OR INDIRECT DAMAGES, LOST PROFITS OR LOSSES RELATING TO THIS
     AGREEMENT, IN TORT OR CONTRACT, INCLUDING ANY NEGLIGENCE OR OTHERWISE.
     YOU SHALL INDEMNIFY, DEFEND, PROTECT, SAVE AND HOLD HARMLESS SUNRUN, ITS
     EMPLOYEES, OFFICERS, DIRECTORS, AGENTS, FINANCING PARTNERS, SUCCESSORS AND
     ASSIGNS FROM ANY AND ALL THIRD PARTY CLAIMS, ACTIONS, COSTS, EXPENSES (INCLUDING
     REASONABLE ATTORNEYS’ FEES AND EXPENSES), DAMAGES, LIABILITIES, PENALTIES,
     LOSSES, OBLIGATIONS, INJURIES, DEMANDS AND LIENS OF ANY KIND OR NATURE ARISING
     OUT OF, CONNECTED WITH, RELATING TO OR RESULTING FROM YOUR NEGLIGENCE OR
     WILLFUL MISCONDUCT; PROVIDED, THAT NOTHING HEREIN SHALL REQUIRE YOU TO
     INDEMNIFY SUNRUN FOR ITS OWN NEGLIGENCE OR WILLFUL MISCONDUCT. THE PROVISIONS
     OF THIS PARAGRAPH SHALL SURVIVE TERMINATION OR EXPIRATION OF THIS AGREEMENT.
     EXCEPT AS EXPRESSLY PROVIDED HEREIN, SUNRUN MAKES NO WARRANTY OR
     REPRESENTATION, EITHER EXPRESS OR IMPLIED, REGARDING ITS OBLIGATIONS OR THE
     SOLAR SYSTEM. THERE IS NO WARRANTY OF MERCHANTABILITY OR FITNESS FOR A
     PARTICULAR PURPOSE, AND ANY AND ALL IMPLIED WARRANTIES ARE DISCLAIMED TO THE
     FULLEST EXTENT PERMISSIBLE UNDER STATE AND FEDERAL LAW. ANY WARRANTY
     EXPRESSLY PROVIDED FOR IN THIS AGREEMENT EXCLUDES CONSEQUENTIAL AND
     INCIDENTAL DAMAGES TO THE FULLEST EXTENT PERMISSIBLE UNDER STATE AND FEDERAL
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     LAW AND LIMITS THE DURATION OF ANY WARRANTIES NOT EXPRESSLY PROVIDED HEREIN TO
     THE FULLEST EXTENT PERMISSIBLE UNDER STATE AND FEDERAL LAW.
8. Limitations on Damages
     IN NO EVENT WILL WE BE LIABLE TO YOU OR TO ANYONE FOR LOSS OF PROFITS, DAMAGES
     FROM POWER INTERRUPTION OR OTHER SPECIAL, CONSEQUENTIAL, INCIDENTAL OR
     INDIRECT DAMAGES.
9. Force Majeure
     Sunrun is not responsible for any delay or failure in the performance under this Agreement if the delay or
     failure is due to Force Majeure. “Force Majeure” means any event, condition or circumstance beyond the
     reasonable control of, and not caused by, Sunrun’s fault or negligence. Force Majeure includes, without
     limitation, acts of God such as storms, fires, floods, lightning and earthquakes, sabotage or destruction
     by a third party of the Solar System, war, riot, acts of a public enemy or other civil disturbance, or a
     strike, walkout, lockout or other significant labor dispute. Force Majeure does not include economic
     hardship or insufficiency, unavailability, failure, or diminishment of solar resources, except as a result of
     an event that would otherwise qualify as a Force Majeure.
     In order to claim Force Majeure as a reason for non-performance, Sunrun must give you notice within
     fourteen (14) days following its occurrence and estimate how long it will last and what the potential
     impact is on the Agreement. If Sunrun claims Force Majeure, it must:
     a.   make reasonable attempts to continue to perform under the Agreement;
     b.   quickly take action to correct the problem caused by the Force Majeure;
     c.   make reasonable efforts to limit damage to you; and
     d.   notify you when the Force Majeure event ends and performance will resume as contemplated in this
          Agreement.

10. Default and Remedies
a. DEFAULT BY CUSTOMER; SUNRUN’S REMEDIES:
     (i) You will be in default under the Agreement if:
          1. You terminate this Agreement under Section G(5)(a)(iii);
          2. You provide any false or misleading financial or other information to obtain this Agreement;
          3. You assign, transfer, or encumber this Agreement or any part of the Solar System without
             Sunrun’s prior written consent;
          4. You make a general assignment for the benefit of creditors, file a petition in bankruptcy, appoint a
             trustee or receiver, or have all or substantially all of your assets subject to attachment, execution
             or other judicial seizure, or you become insolvent or unable to pay your debts, or vacate or
             abandon the Home;.
          5. Foreclosure proceedings are filed involving the Home;
          6. You fail to (1) provide us with the information, approvals or reasonable access to the Home we
             need in order to do the Work, or you fail to (2) make a payment when due, and, in either case,
             you fail to correct the problem in ten (10) days of notice being provided to you. In addition, to any
             other remedies described herein, upon the occurrence of any event described in the foregoing
             sentence, and prior to expiration of the 10 day cure period, Sunrun may stop Work. Sunrun will
             give you written notice of our reasons for stopping Work.
          7. If you fail to perform any other material obligation that you have undertaken in this Agreement,
             including doing something you have agreed not to do, and such failure continues beyond a period
             of fourteen (14) days after you receive notice of such failure.

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     (ii) If any events described in Section G(10)(a)(i) occur, Sunrun may, upon notice to you, exercise one or
          more of the following remedies, in its sole discretion:
        1. Sunrun may terminate the Agreement;
        2. Sunrun may, subject to any cure rights provided herein or under applicable law, have the right to
           disconnect the Solar System and/or enter the Home and remove the Solar System. We will
           provide at least ten (10) days’ advanced written notice of our intent to disconnect the Solar
           System;
        3. Sunrun may require you to pay Sunrun a termination payment equal to the Prepayment of all
           future Monthly Payments during the Initial Term ("Make Whole");
        4. If, as a result of your default, Sunrun removes the Solar System, then in addition to the Make
           Whole payment, you will be obligated to pay Sunrun an amount equal to the value of any
           Incentives that Sunrun must return as a result of such removal;
        5. Sunrun may exercise any other remedies available to Sunrun at law or in equity.
b. SUNRUN’S DEFAULT; YOUR REMEDIES. In addition to any other remedies you have under this
   Agreement, if Sunrun (i) makes a general assignment for the benefit of creditors, files a petition in
   bankruptcy, appoints a trustee or receiver, or has all or substantially all of its assets subject to
   attachment, execution or other judicial seizure, or (ii) fails to perform an obligation under the Agreement
   and such failure continues beyond a period of ninety (90) days after we receive notice of such failure
   (provided, in each case, this Agreement is otherwise in full force and effect prior to such event), you will
   have the option to purchase the Solar System as set forth in Section G(4)

11. Dispute Resolution; Arbitration; Class Action Waiver
     This Section sets forth the procedure for resolving disputes related to this Agreement (the "Dispute").
     Unless otherwise agreed in writing, the Parties agree to continue to perform each Party's respective
     obligations under this Agreement during the course of the resolution of the Dispute.
a. INFORMAL DISPUTE RESOLUTION. The Parties agree to first try to resolve informally and in good faith
   any Dispute. Accordingly, you agree to send a written notice of the Dispute to the address listed in
   Section G(12) of the Agreement. Sunrun will send a written notice of Dispute to the Home’s address. If
   the Parties do not reach an informal agreement to resolve the Dispute within forty-five (45) days after the
   notice of Dispute is received, you or Sunrun may commence a formal proceeding as detailed below. All
   applicable statutes of limitation and defenses based upon the passage of time shall be tolled for the 45
   days during which the parties try to informally resolve any Dispute. If you claim deficiencies in the Solar
   System’s installation or performance, you must allow us to visually inspect the Solar System and obtain
   or download pertinent performance data from the Solar System.
b. ARBITRATION. IF THE PARTIES CANNOT RESOLVE THE DISPUTE INFORMALLY, THE
     DISPUTE, INCLUDING THE DETERMINATION OF THE SCOPE OR APPLICABILITY OF THIS
     AGREEMENT TO ARBITRATE, WILL BE RESOLVED BY BINDING ARBITRATION BEFORE
     ONE ARBITRATOR.
     ARBITRATION MEANS YOU WAIVE YOUR RIGHT TO A JURY TRIAL AND ALL DISPUTES
     SHALL BE DECIDED BY AN ARBITRATOR. THIS AGREEMENT TO ARBITRATE DISPUTES
     IS GOVERNED BY THE FEDERAL ARBITRATION ACT ("FAA"). THE ARBITRATION SHALL
     BE ADMINISTERED BY JAMS PURSUANT TO ITS STREAMLINED ARBITRATION RULES &
     PROCEDURES. THE ARBITRATION WILL BE OVERSEEN BY THE JAMS OFFICE NEAREST
     TO THE HOME. JUDGMENT ON THE AWARD MAY BE ENTERED IN ANY COURT HAVING
     JURISDICTION. THIS CLAUSE SHALL NOT PRECLUDE PARTIES FROM SEEKING
     PROVISIONAL REMEDIES IN AID OF ARBITRATION FROM A COURT OF APPROPRIATE
     JURISDICTION. THE ARBITRATOR MAY, IN THE AWARD, ALLOCATE ALL OR PART OF

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     THE COSTS OF THE ARBITRATION, INCLUDING THE FEES OF THE ARBITRATOR AND
     THE REASONABLE ATTORNEY FEES OF THE PREVAILING PARTY.
c. You may, in arbitration, seek all remedies available to you under this Agreement as interpreted under
   California law. If there is a conflict between the JAMS Rules and this Agreement, this Agreement will
   govern. Sunrun will pay the costs for initiating arbitration proceedings whether you or Sunrun prevails in
   arbitration. Other fees, such as attorneys’ fees and expenses of travel to the arbitration, will be paid in
   accordance with JAMS Rules. If the arbitrator finds in your favor, Sunrun will pay your attorney’s fees
   and expenses of travel to the arbitration. The arbitration hearing will take place in the federal judicial
   district of the Home, unless you and Sunrun agree to another location in writing. In order to initiate
   arbitration proceedings, you or Sunrun must take the following actions:
     (i) Write a demand for arbitration. The demand must include a description of the Dispute and the amount
         of damages you are seeking. The form of Demand for Arbitration can be found under ADR Forms at
         www.jamsadr.com.
     (ii) Send three (3) copies of the demand for arbitration to the JAMS location at Two Embarcadero
          Center, Suite 1500, San Francisco, California 94111.
     (iii) Send one copy of the demand for arbitration to the other Party. You and Sunrun agree to receive
           service of process of the arbitration demand by registered or certified mail, return receipt requested,
           at your billing address and Sunrun’s principal executive office, respectively.
d. In accordance with the FAA and the JAMS Rules, the arbitrator’s decision will be final and binding. Any
   right to appeal is likewise governed by the FAA and JAMS Rules. Any arbitration award may be enforced
   in any court with jurisdiction. For more information about JAMS and its Streamlined Arbitration Rules &
   Procedures, visit www.jamsadr.com, or call 1.800.352.5267.

e. CLASS ACTION WAIVER. ARBITRATION MUST BE ON AN INDIVIDUAL BASIS. AS A RESULT,
   NEITHER YOU NOR SUNRUN MAY JOIN OR CONSOLIDATE CLAIMS IN ARBITRATION BY OR
   AGAINST OTHER ”CUSTOMERS”, OR LITIGATE IN COURT OR ARBITRATE ANY CLAIMS AS A
   REPRESENTATIVE OR MEMBER OF A CLASS OR IN A PRIVATE ATTORNEY GENERAL CAPACITY.
     Your initials indicate that you have read, understood and accepted the provisions set forth in this Section
     G(11).
     Agreed and accepted by: \i1\_______ (Initials)
12. Written Notice & General Correspondence
     All notices, demands or requests related to this Agreement must be in writing and will be sent to the
     Customer at the Home’s mailing address or email address identified under your signature to this
     Agreement. We will primarily use email to communicate with you, unless you request correspondence
     solely via first class mail. Any notice or communication made in electronic form will have the same legal
     effect and enforceability as if made in non-electronic form.
     Correspondence, notices, demands or requests should be sent to Sunrun at:
        c/o Sunrun Inc.
        Attn: Legal Department
        225 Bush Street, Suite 1400
        San Francisco, CA 94104
        Phone: 855-478-6786
        Email: customercare@sunrunhome.com

13. Governing Law. Unless otherwise prohibited by law, this Agreement shall be interpreted in accordance
    with and governed by the laws of the State in which the Home is located, without regard to any conflicts
    of laws principles thereof.
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14. You agree that Sunrun has the right to periodically check your consumer credit report. Sunrun may report
    information about your performance under this Agreement to consumer reporting agencies. Late
    payments, missed payments or other defaults hereunder may be reflected in your credit report.
15. You agree that Sunrun has the right to obtain photographic images of the Solar System and the Home,
    and to use such photographic images for internal and quality control purposes. Sunrun will not use
    photographic images of the Solar System or the Home in its marketing and promotional materials without
    first obtaining your express written approval.
16. This Agreement is binding upon, and inures to the benefit of, the Parties and their respective heirs,
    executors, administrators, legal representatives, successors and assigns.
17. This Agreement supersedes any prior understandings, agreements, or representations by or between the
    parties, written or oral, to the extent they related in any way to the subject matter hereof.
18. Entire Agreement. You agree that this Agreement constitutes the entire agreement between you and
    Sunrun. If any provision is declared to be invalid, that provision will be deleted or modified, and the rest
    of the Agreement will remain enforceable. The terms of this Agreement that expressly or by their nature
    survive termination shall continue thereafter until fully performed, which shall include, without limitation,
    the obligation to make payments hereunder.

H. Notices of Right to Cancel
1. We May Revoke Our Offer To Enter Into This Agreement In Our Sole Discretion If You Do Not Accept,
   Sign And Send The Agreement To Us By The Tenth (10th) Calendar Day After The Date We Present It
   To You.
2. In Addition To The 10-Day Right To Cancel, Which Is Described On the Signature Page and Exhibit C,
   You May Cancel The Agreement Without Penalty and Have Your Deposit Refunded By Sunrun Within a
   Reasonable Period of Time Following Cancellation:
a. If we fail in some material way to perform the Work, and do not correct such failure within ninety days
   (90) after receiving written notice from you pursuant to Section G(12) that details the nature of the failure
   to perform and the date on which you first noticed the incident;
b. If Sunrun requests a change to the Agreement pursuant to Section F, and you do not agree to such
   change;
c. If it is determined that you must pay for any site improvements (to accommodate a Solar System); or


       For example, if upon completion of the Site Survey we recommend that the roof should be replaced
       prior to the solar installation, but you do not have the means to complete the re-roof, then you may
     __cancel the agreement.


     __

d. If, for a period of one hundred eighty (180) days after the Effective Date Installation of the Solar System
   has not commenced, and you have fulfilled all of your obligations under this Agreement, including making
   the Home accessible to Sunrun and in a state ready to permit installation.
3. We May Cancel This Agreement If:
a. prior to the commencement of installation, there is a change in the Solar System’s annual energy
   production estimate, expressed in kWh, provided by the National Renewable Energy Laboratory PVWatts
   Calculator.
b. concealed conditions that you knew about or reasonably should have known about are discovered that
   prevent installation or would result in reduced estimated system production as set forth in Section B;
c. you delay in correcting pre-existing conditions that prevent installation of the Solar System;
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d. you fail to respond to Sunrun’s or its Installation Partner’s questions and requests and cause Solar
   System installation to be delayed for thirty (30) or more days as a result of your unresponsiveness;
e. a change in Solar System design changes the expected costs and benefits of this Agreement to Sunrun;
f.    cellular service or internet service is no longer available at the Home or if the availability of cellular or
      internet service significantly decreases, in which case Sunrun will refund you the Deposit within a
      reasonable period of time following cancellation if such lack of, or decrease in, cellular service or internet
      service is through no fault of your own;
g. Sunrun requests a change to the Agreement pursuant to Section F, and you do not agree to such change
   within five (5) business days after you are notified of such request, in which case Sunrun will refund you
   the Deposit within a reasonable period of time following cancellation.
h. prior to the commencement of installation, there are any changes or proposed changes to your
   applicable Utility tariff , we may cancel this Agreement, in which case Sunrun will refund you the Deposit
   within a reasonable period of time following cancellation.
i.    prior to the commencement of installation, the Solar System fails to qualify for any expected Incentives
      (including Incentives based on your household income or similar criteria), we may cancel this Agreement,
      in which case Sunrun will refund you the Deposit within a reasonable period of time following
      cancellation.
YOUR INITIALS BELOW INDICATE THAT YOU:
         Are eighteen (18) years of age or older;
         Are the owner of legal title to the Home and that every person or entity with an ownership interest in
          the Home has agreed to be bound by the terms of the Agreement;
         Have read, understood and accepted the explanation of estimated energy output, energy sources,
          contract term and payment terms (including, without limitation, the Auto-Pay discount);
         Have understood that Sunrun has the right to check your credit;
         Agree that Sunrun will make a final determination of your eligibility in its sole discretion;
         Acknowledge that you are responsible for making all payments under the terms of a 25-year
          Agreement;
         Acknowledge that Sunrun will communicate with you via email and that you must maintain a working
          email address in order to receive these communications;
         Acknowledge that you will continue to receive a monthly bill from your Utility;
         Agree that Sunrun has the right to file a Property Tax Form 50-123 in respect of the Solar System
         Acknowledge that the Solar System is owned by Sunrun Installation Services Inc. and/or its affiliates;
          and
         Acknowledge that you have been advised on your right to cancel this Agreement.

Agreed and accepted by: \i1\_______ (Initials)
                                              [Signature Page Follows]




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By signing below, you acknowledge that you have reviewed and received a complete copy of the Agreement
without any blanks. Such Agreement shall be the complete understanding between the Parties.
SUNRUN INSTALLATION SERVICES INC.

Signature:\os\___________________
Print Name:\on\__________________
Date:\od\_______________________
Title:\ot\________________________
Federal Employer Identification Number: XX-XXXXXXX
IF YOU CHOOSE TO PAY BY CHECK, MAKE CHECKS OUT TO SUNRUN INC. NEVER MAKE A CHECK
OUT TO A SALES REPRESENTATIVE. OUR SALES REPRESENTATIVES ARE NOT AUTHORIZED TO
RECEIVE CHECKS IN THEIR OWN NAMES.




Customer
Primary Account Holder                                  Secondary Account Holder (Optional)
\s1\____________________________________                \s2\_______________________________
    Signature  Cynthia TerryYeldell                         Signature
\d1\____________________________________                \n2\_______________________________
    Date                                                    Print Name

Email Address*:       \em1\
Mailing Address:      2703 Edgewick Elm St Fresno, TX 77545
Phone:               \ph1\


Sales Consultant




\r1\___________________________________________
    Signature

\r2\___________________________________________
    Print Name

\r4\___________________________________________
    Sunrun ID number




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                                             Exhibit A
                            Monthly Payment Schedule and Prepayment Pricing

When you sign the Agreement, you will pay Sunrun a Deposit of $0. At the start of installation of the Solar
System, you will pay Sunrun an Initial Payment of $0.
Each Monthly Payment shown below is for the previous year. Each of your first 12 Monthly Payments will be
in the amount of $200.33. The Monthly Payments shall increase by 2.9% annually during the Initial Term of
the Agreement (the “Annual Increase”), effective as of the Monthly Payment that covers any calendar month
that includes an anniversary of the In-Service Date (and such increase would not apply to any part of a
Monthly Payment that covers the days in a calendar month leading up to an anniversary of the In-Service
Date).
The Monthly Payments shown below are before any applicable taxes and include a $7.50 discount for paying
through Automated Clearing House (ACH) withdrawal. If you do not elect automatic payment through ACH
withdrawal from your checking or savings account, you will not receive this discount and each monthly
payment will be $7.50 greater. For simplicity, the table below is based on the assumption that the In-Service
Date will occur on the first day of the month.
As specified below, Sunrun will issue you a refund if Actual Output is less than Guaranteed Output to date.
Please see Section D of the Agreement for additional information, including certain limitations.




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Year   Monthly Payment for the Estimated
       Solar System            Prepayment
       (including the Annual   Purchase Price^
       Increase)*


1      $200.33                     $49,520
2      $206.14                     $49,220
3      $212.12                     $48,839
4      $218.27                     $48,369
5      $224.60                     $47,805
6      $231.11                     $47,142
7      $237.81                     $46,372
8      $244.71                     $45,489
9      $251.81                     $44,486
10     $259.11                     $43,355
11     $266.62                     $42,088
12     $274.36                     $40,677
13     $282.31                     $39,114
14     $290.50                     $37,388
15     $298.92                     $35,491
16     $307.59                     $33,413
17     $316.51                     $31,142
18     $325.69                     $28,667
19     $335.14                     $25,977
20     $344.86                     $23,059
21     $354.86                     $19,901
22     $365.15                     $16,489
23     $375.74                     $12,808
24     $386.63                     $8,843
25     $397.85                     $4,580

Year   Performance                Refund per kWh
       Guarantee (kWh             if Guaranteed
       Output to Date)            Output is Not
                                  Met


2      29,768                      $0.145
4      59,238                      $0.155
6      88,415                      $0.166
8      117,301                     $0.178
10     145,898                     $0.190
12     174,210                     $0.203
14     202,240                     $0.218
16     229,990                     $0.233
18     257,464                     $0.249
20     284,663                     $0.266
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 22    311,591                      $0.285
 24    338,251                      $0.304
 25    351,481                      $0.325
*These Monthly Payments assume an Annual Increase of 2.9%
^At any time, you may prepay the balance of your estimated obligations under this Agreement. Please see
Section B for additional information.

After the Initial Term, if this Agreement is renewed in accordance with Section G(1), Sunrun shall, on each
anniversary of the In-Service Date, establish a new price per kWh that is equal to ten percent (10%) less
than the “average cost of electric energy” as established by your Utility or its successor. “Average cost of
electric energy” shall be the price you would otherwise pay for electric energy to your Utility or its successor
for the 12 months preceding the start of each Renewal Term.
Please note that Utility rates and utility rate structures are subject to change. These changes cannot be
accurately predicted. Projected savings from the Solar System are therefore subject to change. Tax
incentives are subject to change or termination by executive, legislative or regulatory action.
Agreed and accepted by: \i1\_______ (Initials)




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                                                  EXHIBIT B
                                                LEGAL NOTICES
Sunrun is regulated by The Texas Department of Licensing and Regulation, P. O. Box 12157, Austin,
Texas 78711, 1-800-803-9202, 512-463-6599; website: www.license.state.tx.us/complaints.
You will control the generating capacity of the Solar System and acquire title to any electric power produced
by the Solar System. You are also the “distributed renewable generation owner” of the Solar System for
purposes of the Texas Public Utility Regulatory Act and the related rules and regulations, including the rules
of the Texas Public Utility Commission, and shall be responsible for obtaining interconnections
arrangements with the applicable utility.

By signing below, you acknowledge receipt of the foregoing legal notices.
Customer
Primary Account Holder
\s1\____________________________________
    Signature  Cynthia TerryYeldell




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                                                EXHIBIT C
                                         NOTICE OF CANCELLATION




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                                                 EXHIBIT C                                DUPLICATE COPY
                                         NOTICE OF CANCELLATION




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                                                   EXHIBIT D
                                                 Payment Forms

As a Sunrun customer, you agree to pay your monthly bill with recurring automatic electronic payments. If
you choose not to select the automatic payment option, then you will lose the discount set forth in Section B
and Exhibit A, and you will be required to pay your monthly Sunrun bill by check drawn on a US bank
account or by money order.
You will receive all invoices via email unless you contact Sunrun directly by phone at 855-478-6786 or by
email at customercare@sunrun.com to request invoices be sent through the US mail.




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                                               ACH Deposit Form

BY ACCEPTING THE TERMS AND CONDITIONS FOR RECURRING PAYMENTS BELOW AND
CONDITIONS AND ENROLLING IN THE AUTOMATIC ELECTRONIC PAYMENT OPTION, YOU ARE
AUTHORIZING SUNRUN TO AUTOMATICALLY DEDUCT YOUR MONTHLY INVOICE AMOUNT FROM
THE BANK ACCOUNT YOU HAVE DESIGNATED. SUNRUN WILL ADVISE YOU BY MONTHLY INVOICE
OF THE AMOUNT AND DATE OF THE PAYMENT THAT WILL BE AUTOMATICALLY DEBITED.
1. Sunrun will provide you with a monthly electronic statement of your account. You agree to review each
   invoice you receive for any errors. Under federal law, you have the right to hold up or stop an electronic
   funds transfer provided you give your financial institution notice of at least three business days before the
   scheduled transfer date. If you inform Sunrun that an error exists on your statement, Sunrun will attempt
   to correct that error prior to your next statement to the extent permitted by law. Sunrun shall bear no
   liability or responsibility for any losses of any kind that you may incur as a result of an erroneous
   statement or due to any delay in the actual date on which your account is debited.
2. If any changes occur in the information on your application, you must immediately notify Sunrun in writing
   of such changes. If Sunrun incurs charge-back fees as a result of inaccurate information you provide,
   then Sunrun shall bill you for those fees.
3. If you either do not notify Sunrun in writing of such changes or do so in an untimely fashion, Sunrun shall
   bear no liability or responsibility for any losses incurred to the extent permitted by law. Sunrun's sole
   liability to you shall be Sunrun's obligation to make any appropriate changes once in receipt of your
   written notification. The actual settlement date (or date the ACH transaction occurs against your checking
   or savings account or is charged to your check) will be no earlier than three (3) days before the invoice
   due date.
4. You agree to ensure that there are sufficient funds in your designated account on the settlement date to
   pay the amount of the debit. If Sunrun incurs charge-back fees as a result of insufficient funds in your
   designated account, then Sunrun shall bill you for those fees.
5. Sunrun reserves the right to change these conditions at any time. Notice may be given on or with your
   bill or by other methods. Either Party may terminate this arrangement at any time by giving the other
   Party written notice reasonably in advance of the date of termination or any scheduled settlement date.
   You may also terminate this arrangement by calling Sunrun Customer Care at 1-855-478-6786 or by
   changing your billing preference in the Sunrun Customer Portal. Termination shall not prevent a debit
   transaction authorized before any notice of termination and does not terminate the Agreement or your
   obligation to make payments as required by the Agreement.
6. You agree to be bound by any rules your financial institution requires for pre-authorized electronic funds
   transfer. You are responsible for any fees your financial institution may charge for these electronic
   payments.
7. Check with your financial institution to see if there are any fees associated with the pre-authorized
   payment option. You will be responsible for all such fees.
8. You represent to Sunrun that all persons whose signatures are required to withdraw funds from the
   above referenced account have executed this ACH Deposit Form.
By my signature below, I authorize automatic electronic payments and accept these Terms and Conditions
and acknowledge that I will receive a separate electronic request to securely enter my bank account
information.
Primary Account Holder                                  Secondary Account Holder (Optional)
\s1\____________________________________                \s2\_______________________________
    Signature   Cynthia TerryYeldell                        Signature
\d1\____________________________________                \n2\_______________________________
    Date                                                    Print Name


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                                      Check/Money Order Deposit Form

Sunrun customers paying Deposits or Monthly Payments by check or money order must (i) enclose this
document with each payment and (ii) include your Sunrun Customer ID number in the memo line of your
check.
Please send payments to:             Sunrun Inc.
                                     P.O. Box 511612
                                     Los Angeles, CA 90051-8167

                                   _____________________________________
                                   _____________________________________
                                   _____________________________________
                                   _____________________________________
                                   $____________________________________
                                   O Deposit
                                   O Initial Payment
                                   O Monthly Lease Payment
                                   O January
                                   O February
                                   O March
                                   O April
                                   O May
                                   O June
                                   O July
                                   O August
                                   O September
                                   O October
                                   O November
                                   O December
                                   _____________________________________
Notes: ________________________________________________________________________
For Accounting Purposes Only
Account Coding:                   ____________________________________
Fund:                             ____________________________________




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                                                      EXHIBIT E
                                             Data Usage and Disclosure

  This Exhibit E describes the circumstances in which and purposes for which we may use or disclose Data.

a. Data Usage: We may use Data for the following purposes (in each case to the extent permitted by law):
   (1) to operate, maintain, provide, and enhance the Solar System; (2) for our internal purposes, including,
   without limitation, research and development, improvement of our product and service offerings, and
   creation of new product and service offerings; (3) to customize content and communications we may
   provide to you; and (4) for other purposes so long as the Data does not contain personally identifiable
   information (including where Data has been deidentified).

b. Data Disclosure. We will not disclose any Data other than in the following circumstances: (1) where the
   Data does not contain personally identifiable information (including where Data has been deidentified);
   (2) in order to provide our products or services to You (including working with third-party service
   providers who may assist us in collecting, hosting, maintaining, analyzing or otherwise processing Data
   for us); (3) if required to do so by any law or regulation or in the good-faith belief that such action is
   necessary to comply with any law or regulation, in response to a court order, judicial or other government
   subpoena or warrant, or to otherwise cooperate with law enforcement or other governmental agencies;
   (4) if we believe, in good faith, disclosure is appropriate or necessary to (A) take precautions against
   liability, (B) protect us or others from fraudulent, abusive, or unlawful uses or activity, (C) investigate or
   defend against any third-party claims or allegations, (D) protect the security or integrity of our services
   and any facilities or equipment used to make our service available, or (E) protect our property or other
   legal rights (including, but not limited to, enforcement of our agreements), or the rights, property, or
   safety of others; (5) to our assignees, affiliates, actual or prospective lenders, financing parties,
   investors, insurers, and acquirers; (6) disclosure to contractors, service providers and other third parties
   we use to support our business and who are bound by contractual obligations to keep personal
   information confidential and use it only for the purposes for which we disclose it to them; and (7) for any
   purpose for which you have provided your express consent.
         Your initials indicate that you have read, understood and accepted the provisions set forth in this
         Exhibit E.

     Agreed and accepted by: \i1\_______ (Initials)




Sunrun Installation Services Inc. | 225 Bush Street, Suite 1400, San Francisco, CA 94104 | 888.GO.SOLAR | LIC:
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                            SEIA® SOLAR PPA DISCLOSURE
This disclosure is designed to help you understand the terms and costs of your agreement to purchase the power output of
                                                 a solar electric system (“System”).
  It is not a substitute for the power purchase agreement (“PPA”) and other documents associated with this transaction.
                               All information presented below is subject to the terms of your PPA.

                    For more information on being a smart solar consumer visit www.seia.org/consumers.


     PROVIDER: Sunrun                       INSTALLER: Sunrun Installation         WARRANTY/MAINTENANCE
     Installation Services Inc.             Services Inc.                          PROVIDER:
                                                                                   (If Different from Installer or Provider):

     Address: 225 Bush St., Ste        Address: 225 Bush St., Ste 1400             Address:
     1400                              San Francisco, CA 94104
     San Francisco, CA 94104           Tel.: 888.GO.SOLAR                          Tel.:
     Tel.: 888.GO.SOLAR                State/County Contractor License #:          License # (If applicable)
     License # (if applicable):                                                    Email:
     Email:                            Email: customercare@sunrun.com
     customercare@sunrun.com
     CUSTOMER: Cynthia TerryYeldell
     Customer ID: PK434VN9D6Z4-H
     System Installation Address: 2703 Edgewick Elm St, Fresno, TX, 77545
     Lessee Mailing Address: 2703 Edgewick Elm St, Fresno, TX, 77545
     Email: loveyeltx@yahoo.com

     *


          Electricity Rate & Term (A)               Amount Due Up-Front (B)                Other Possible Charges (C)
     [ ] Your initial rate per kilowatt-     Amount you owe at PPA signing:            Other charges you may have to pay
     hour (kWh) for the electricity                                                    under your PPA:
     produced is $____________. Your         $0
     monthly payments will be the                                                      Late Charge:
     amount of energy the System             Amount you owe at the commencement        [ ] If a payment is more than _____
     produces times the above rate.          of installation:                          days late, you will be charged
     [X] You have a fixed monthly                                                      $___________ OR
     payment PPA. Your                                                                 [X] Late payments accrue interest at
     monthly payment during the first         $0                                       1.5% monthly not to exceed the
     year of the PPA is                                                                maximum allowable by law
     $200.33 .                               Amount you owe at the completion of
     [ ] Your electricity rate is subject    installation:                             Estimated System Removal Fee: $0
     to other factors. See
     Box R for more information.             $0                                        UCC Notice Removal and Re-filing
                                                                                       Fee:
     The initial term of PPA:                Total up-front payments you owe:          If you refinance your mortgage, you
                                                                                       may have to pay $0
     [X]25 Years
     [ ] ___ Months                           $0                                       Returned Checks:
                                                                                       If any check or withdrawal right is
     Incentives included in your rate                                                  returned or refused by your bank,
     per kilowatt-hour                                                                 you may be charged: $25          (or a
     (kWh) or monthly fixed fee:                                                       lower amount if required by law)
     [X] None
     [ ]___________________                                                            Non-Connection to Internet:
                                                                                       If you do not maintain a high-speed
     See Box F, “PPA Payment                                                           internet connection, you will be
     Escalator”, for factors that                                                      charged a monthly fee of $0
       may affect the amount of your                                                   and/or your monthly payments may
            monthly payments.                                                          be based upon estimates. Non-
                                                                                       connection may affect any
                                                                                       guarantee. See
                                                                                       Automatic Bank Withdrawals (ACH):

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                                                                                        [$____ per month fee for not paying
                                                                                        your Lease using automatic bank
                                                                                        withdrawals]
                                                                                        OR
                                                                                        [$7.50     per month discount if you
                                                                                        pay your Lease using automatic
                                                                                        bank withdrawals. This value is
                                                                                        already included in the terms on this
                                                                                        SEIA Solar PPA disclosure form]

                                                                                        Other: You may be charged $_____
                                                                                               for _______________
      Number of
       Monthly            When Payments Are Due (E)                             PPA Payment Escalator (F)
     Payments (D)
                      The first payment on your PPA is        Your PPA [X] HAS [ ]DOES NOT HAVE a payment
       Number of      due on the                              escalator.
        Monthly       _____ day of the first calendar
     payments: 300    month after your System is              If your PPA HAS a payment escalator:
                      connected.
                                                              Your PPA payment will increase:
                      You will receive:                       [X] Annually
                                                              [ ] Other ________________
                      [X] Electronic Invoices                 Your Electricity rate will increase by the following amount
                      (sent to your email address above)
                      [ ]Paper Invoices
                      (sent to your U.S. mail address         The first Lease payment increase will occur in one
                      above)                                  year        , 11/09/2022or with your 13th payment, whichever
                                                              comes later.

                                                Site & Design Assumptions for your PPA (G)
        Estimated size of the System in kilowatts: 14.7                   (kWdc)
        Estimated gross annual electricity production in kilowatt-hours (kWh) from System in the first year the contract:
         16579
        Estimated annual System production decrease due to natural aging of the System: 0.50           %
        System location on your property: Roof
        System [X] WILL [ ] WILL NOT be connected to the electric grid
        At the time of installation, your local utility [X] DOES [ ] DOES NOT credit you for excess energy your System
         generates. The rules applying to such credit are set by your jurisdiction.
                                                           Security Filings (H)
     Provider [ ] WILL [X] WILL NOT place a lien on your home as part of entering the PPA.
     Provider [X] WILL [ ] WILL NOT file a fixture filing or a UCC-1 on the System. The UCC-1 is a public filing providing
     notice that Lessor owns the System, but is not a lien.
                                              System Maintenance & Repairs (I)
     “System maintenance” refers to the upkeep and services required or recommended to keep your System in proper
     operation. System maintenance [X] IS [ ] IS NOT included for 25       years by Installer     (e.g., Installer,
     Maintenance Provider).
     “System repairs” refers to actions needed to fix your System if it is malfunctioning. System repairs [X] ARE [ ] ARE
     NOT provided by the Installer          (e.g. Installer, Other).

     Please review your PPA for additional information about any warranties on the System installation and equipment.
     Certain exclusions may apply. Note that equipment warranties for hardware are not required to include
     labor/workmanship.

                                                       Roof Warranty (J)
     Your roof [X] IS [ ] IS NOT warranted against leaks from the System installation for 10   years by Installer           (e.g.
     Provider, Installer, Other).
     Your roof [ ] IS [X] IS NOT warranted against leaks caused by removal of the System for a period of _______ years
     following System removal. Any portions of your roof impacted by the System [X] WILL [ ] WILL NOT be substantially
     returned to their original condition upon the removal of the System (ordinary wear and tear excepted).



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                                            Transferring Your PPA and Selling Your Home (K)
     If you sell your home, you [X] MAY [ ] MAY NOT transfer the PPA to the purchaser(s) of your home. If you may
     transfer the PPA , the transfer will be subject to the following conditions:

     [X] Credit check on the purchaser(s)
     [ ] Minimum FICO score requirement: ____________
     [ ] Transfer fee of $ ____________
     [X] Assumption of PPA , by purchaser(s)
     [ ] Other ______________________________________________________________________

     If you sell your home, you [ ] ARE [X] ARE NOT permitted to move the System to a new home.
     You may also have the options to purchase the System or prepay some or all of the PPA balance as part of or prior to a
     transfer.
                                               Transfer of Obligations by Provider (L)
     The Lease may be assigned, sold or transferred by Lessor without your consent to a third-party that will be bound to all
     the terms of the Lease. If such a transfer occurs, you will be notified if this will change the address or phone number to
     use for Lease questions, payments, maintenance or service requests.
                                                       System Guarantee (M)
     In terms of your full System, Lessor is providing you with a:
     [X] System performance or electricity production guarantee
     [ ] Other type of System guarantee
     [ ] No System guarantee

     You may have additional guarantees or warranties in addition to those that cover the entire System.
                                 Utility and Electricity Usage/Savings Assumptions (N)
     You [X] HAVE [ ] HAVE NOT been provided with a savings estimate (“Estimate”) based on your PPA.



     Provider [ ] IS [X] IS NOT guaranteeing these savings.
     Provider [X] IS [ ] IS NOT using savings calculations that conform to the                                . See Box R or
     www.seia.org/code.
     Your Estimate was calculated based on:
     [ ] Your estimated prior electricity use
     [X] Your actual prior electricity use
     [ ] Your estimated future electricity use
     [X] Any escalator in your monthly PPA price
     Your Estimate assumes the following:
     [X] Years of electricity production from the System: 25
     [X] A current estimated utility electricity rate of $0.152 [cost per kilowatt-hour] during the first PPA year with estimated
     increases of %2-%4           percent annually. Provider based this estimate on the following source(s): US Energy
     Information Administration historical data and projections, utility filings, and other analysis on long-term factors
     impacting future utility rates.
     [X] Your utility will continue to credit you for excess energy your System generates at [X] ESTIMATED FUTURE [ ]
     CURRENT utility electricity rates
     NOTE: It is important to understand that utility rates may go up or down and actual savings may vary. Historical data
     are not necessarily representative of future results. For further information regarding rates, you may contact your local
     utility or the public regulation commission. Tax and other state and federal incentives are subject to change or
     termination by executive, legislative or regulatory action, which may impact savings estimates. Please read your PPA
     carefully for more details.
                                           Renewable Energy Certificates (RECs) (O)
     Any renewable energy certificates or credits (RECs) from producing renewable solar energy with the System
     [X] WILL [ ] WILL NOT be assigned to the Provider. If Provider is assigned the RECs, you will not own the RECs to
     sell, use or claim them, and PPA may sell the RECs to a third party.

                                           Cooling Off Period/ Right to Cancel (P)
  In addition to any rights you have under state or local law, you [X] HAVE [ ] DO NOT HAVE the right to terminate this
  PPA without penalty within 10                                business days of \d1\           by notifying Provider in
  writing at the above address.
                                               SEIA Solar Business Code (Q)
  Provider and Installer [X] DO [ ] DO NOT abide by and agree to be bound by the                                (
  www.seia.org/code) and its complaint resolution process. For more information about the
  and complaint resolution process, please visit www.seia.org/consumers or email SEIA at consumer@seia.org.
Sunrun Installation Services Inc. | 225 Bush Street, Suite 1400, San Francisco, CA 94104 | 888.GO.SOLAR | LIC:
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                                         Additional Disclosures or Terms (R)




                          This form was automatically generated by Sunrun on 11/9/2021




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Certificate Of Completion
Envelope Id: AB4CB3F9E3B3403EAEFC85FDE0B606FD                                             Status: Completed
Subject: Customer Agreement REPLACE_FOR [[RecipientName]] (PK434VN9D6Z4-H)
Source Envelope:
Document Pages: 35                              Signatures: 5                             Envelope Originator:
Certificate Pages: 5                            Initials: 9                               Sunrun eSignAdmin
AutoNav: Enabled                                                                          595 Market St.
EnvelopeId Stamping: Enabled                                                              29th Floor
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                         San Francisco, CA 94105
                                                                                          sunrun_esign_admin@sunrun.com
                                                                                          IP Address: 13.110.74.8

Record Tracking
Status: Original                                Holder: Sunrun eSignAdmin                 Location: DocuSign
         11/23/2021 10:15:04 AM                           sunrun_esign_admin@sunrun.com

Signer Events                                   Signature                                 Timestamp
Cynthia TerryYeldell                                                                      Sent: 11/23/2021 10:15:10 AM
loveyeltx@yahoo.com                                                                       Viewed: 11/24/2021 1:09:46 PM
Security Level: Email, Account Authentication                                             Signed: 11/24/2021 1:26:19 PM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 98.201.227.158
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 11/24/2021 1:09:46 PM
   ID: 5546136b-6cf5-42a1-a4fc-c430df7411a4

Trey Bernadou                                                                             Sent: 11/24/2021 1:26:21 PM
trey.bernadou@vivint.com                                                                  Viewed: 11/24/2021 5:16:23 PM
Security Level: Email, Account Authentication                                             Signed: 11/24/2021 5:16:32 PM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.23.121.169


Electronic Record and Signature Disclosure:
   Accepted: 11/24/2021 5:16:23 PM
   ID: c361af13-2d43-48d5-879a-c408dc9f22f9

Tres Morris                                                                               Sent: 11/24/2021 5:16:34 PM
tres.morris@sunrun.com                                                                    Resent: 12/28/2021 3:11:37 PM
Sr Installation Review Representative                                                     Viewed: 12/28/2021 3:11:53 PM
Sunrun                                                                                    Signed: 12/28/2021 3:12:00 PM
                                                Signature Adoption: Pre-selected Style
Security Level:
   .Email                                       Using IP Address: 67.61.244.34
   ID: 2648b8fb-878b-4c1a-91c2-13983ad317c1
   12/28/2021 3:11:40 PM
Electronic Record and Signature Disclosure:
   Accepted: 7/20/2021 12:59:25 PM
   ID: 86930e42-e3b8-4a43-9636-be25cd095098


In Person Signer Events                         Signature                                 Timestamp

Editor Delivery Events                          Status                                    Timestamp

Agent Delivery Events                           Status                                    Timestamp

Intermediary Delivery Events                    Status                                    Timestamp
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Certified Delivery Events            Status                               Timestamp

Carbon Copy Events                   Status                               Timestamp

Witness Events                       Signature                            Timestamp

Notary Events                        Signature                            Timestamp

Envelope Summary Events              Status                               Timestamps
Envelope Sent                        Hashed/Encrypted                     11/23/2021 10:15:10 AM
Certified Delivered                  Security Checked                     12/28/2021 3:11:53 PM
Signing Complete                     Security Checked                     12/28/2021 3:12:00 PM
Completed                            Security Checked                     12/28/2021 3:12:00 PM

Payment Events                       Status                               Timestamps
Electronic Record and Signature Disclosure
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CONSUMER DISCLOSURE
From time to time, Sunrun Inc. (we, us or Company) may be required by law to provide to you
certain written notices or disclosures. Described below are the terms and conditions for
providing to you such notices and disclosures electronically through the DocuSign, Inc.
(DocuSign) electronic signing system. PLEASE READ THE INFORMATION BELOW
CAREFULLY AND THOROUGHLY, AND IF YOU CAN ACCESS THIS INFORMATION
ELECTRONICALLY TO YOUR SATISFACTION AND AGREE TO THESE TERMS AND
CONDITIONS, PLEASE CONFIRM YOUR AGREEMENT BY CLICKING THE 'I AGREE'
BUTTON AT THE BOTTOM OF THIS DOCUMENT.
Getting paper copies
At any time, you may request from us a paper copy of any record provided or made available
electronically to you by us. You will have the ability to download and print documents we send
to you through the DocuSign system during and immediately after signing session and, if you
elect to create a DocuSign signer account, you may access them for thirty (30) days after such
documents are first sent to you. After such time, if you wish for us to send you paper copies of
any such documents from our office to you, please request delivery of such paper copies from us
by following the procedure described below.
Withdrawing your consent
If you decide to receive notices and disclosures from us electronically, you may at any time
change your mind and tell us that thereafter you want to receive required notices and disclosures
only in paper format. How you must inform us of your decision to receive future notices and
disclosure in paper format and withdraw your consent to receive notices and disclosures
electronically is described below.
Consequences of changing your mind
If you elect to receive required notices and disclosures only in paper format, it will slow the
speed at which we can complete certain steps in transactions with you and delivering services to
you because we will need first to send the required notices or disclosures to you in paper format,
and then wait until we receive back from you your acknowledgment of your receipt of such
paper notices or disclosures. To indicate to us that you are changing your mind, you must
withdraw your consent using the DocuSign ‘Withdraw Consent’ form on the signing page of a
DocuSign envelope instead of signing it. This will indicate to us that you have withdrawn your
consent to receive required notices and disclosures electronically from us and you will no longer
be able to use the DocuSign system to receive required notices and consents electronically from
us or to sign electronically documents from us.
All notices and disclosures will be sent to you electronically
Unless you tell us otherwise in accordance with the procedures described herein, we will provide
electronically to you through the DocuSign system all required notices, disclosures,
authorizations, acknowledgements, and other documents that are required to be provided or
made available to you during the course of our relationship with you. To reduce the chance of
you inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
notices and disclosures to you by the same method and to the same address that you have given
us. Thus, you can receive all the disclosures and notices electronically or in paper format through
the paper mail delivery system. If you do not agree with this process, please let us know as
described below. Please also see the paragraph immediately above that describes the
consequences of your electing not to receive delivery of the notices and disclosures
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electronically from us.
How to contact Sunrun Inc.:
You may contact us to let us know of your changes as to how we may contact you electronically,
to request paper copies of certain information from us, and to withdraw your prior consent to
receive notices and disclosures electronically as follows:
 To contact us by email send messages to: customercare@sunrun.com
 You may also contact us in writing at 45 Fremont Street, 32nd Floor, San Francisco, CA 94105
or by phone at 1-855-478-6786.
To advise Sunrun Inc. of your new e-mail address
To let us know of a change in your e-mail address where we should send notices and disclosures
electronically to you, you must send an email message to us at customercare@sunrun.com and in
the body of such request you must state: your previous e-mail address, your new e-mail address.
We do not require any other information from you to change your email address.
In addition, you must notify DocuSign, Inc. at 1-866-219-4318 to arrange for your new email
address to be reflected in your DocuSign account by following the process for changing e-mail in
the DocuSign system.
To request paper copies from Sunrun Inc.
To request delivery from us of paper copies of the notices and disclosures previously provided
by us to you electronically, you must contact us by (a) sending us an e-mail to
customercare@sunrun.com, (b) writing to us at Sunrun Inc, 45 Fremont Street, 32nd Floor, San
Francisco, CA 94105, or (c) calling us at 1-855-478-6786, and in connection with your request
you must state your e-mail address, full name, US Postal address, and telephone number.
To withdraw your consent with Sunrun Inc.
To inform us that you no longer want to receive future notices and disclosures in electronic
format you may:
       i. decline to sign a document from within your DocuSign session, and on the subsequent
       page, select the check-box indicating you wish to withdraw your consent, or you may;
       ii. contact us by (a) sending us an email to customercare@sunrun.com, (b) writing to us at
       Sunrun Inc., 45 Fremont Street, 32nd Floor, San Francisco, CA 94105, or (c) calling us at
       1-855-478-6786, and in connection with your request you must state your e-mail, full
       name, US Postal Address, and telephone number. We do not need any other information
       from you to withdraw consent.. The consequences of your withdrawing consent for online
       documents will be that transactions may take a longer time to process..

Required hardware and software
Operating Systems:                               Windows® 2000, Windows® XP, Windows
                                                 Vista®; Mac OS® X
Browsers:                                        Final release versions of Internet Explorer® 6.0
                                                 or above (Windows only); Mozilla Firefox 2.0
                                                 or above (Windows and Mac); Safari™ 3.0 or
                                                 above (Mac only)
PDF Reader:                                      Acrobat® or similar software may be required
                                                 to view and print PDF files
Screen Resolution:                               800 x 600 minimum
Enabled Security Settings:                       Allow per session cookies
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** These minimum requirements are subject to change. If these requirements change, you will be
asked to re-accept the disclosure. Pre-release (e.g. beta) versions of operating systems and
browsers are not supported.
Notices
Any notice or other communication to be made hereunder, even if otherwise required to be in
writing under other provisions of this Consent or any other documents or agreements that have
been provided to you in connection with this Consent, may alternatively be made in an electronic
record transmitted electronically to the electronic addresses provided by you. Any notice or other
communication made in electronic form will have the same legal effect and enforceability as if
made in non-electronic form.
Acknowledging your access and consent to receive materials electronically
To confirm to us that you can access this information electronically, which will be similar to
other electronic notices and disclosures that we will provide to you, please verify that you were
able to read this electronic disclosure and that you also were able to print on paper or
electronically save this page for your future reference and access or that you were able to e-mail
this disclosure and consent to an address where you will be able to print on paper or save it for
your future reference and access. Further, if you consent to receiving notices and disclosures
exclusively in electronic format on the terms and conditions described above, please let us know
by clicking the ‘I agree’ button below.
By checking the ‘I agree’ box, I confirm that:

  •   I can access and read and have accessed, read and understood the terms of this
      ELECTRONIC CONSENT TO ELECTRONIC RECEIPT OF ELECTRONIC
      CONSUMER DISCLOSURES document; and

  •   I can print on paper the disclosure or save or send the disclosure to a place where I can
      print it, for future reference and access; and

  •   Until or unless I notify Sunrun Inc. as described above, I consent to receive from
      exclusively through electronic means all notices, disclosures, authorizations,
      acknowledgements, and other documents that are required to be provided or made
      available to me by Sunrun Inc. during the course of my relationship with you.

Entire Agreement Provision
This agreement and the consumer disclosure statement executed by the customer in conjunction
with and simultaneously with its review and acceptance of the terms set forth herein constitute
the entire agreement between the parties with respect to the subject matter hereof and supersede
any prior understandings, agreements, or representations by or between the parties, written or
oral, to the extent they relate in any way to the subject matter hereof.
